5

t

Case 3:19-cr-05278-CAB Document 30 Filed 07/31/20 PagelD.74 Page 1of5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 
    
   

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

    

CLER : .
SOUTHERN Bsr STRICT COURT

UNITED STATES OF AMERICA JUDGMENT IN A CRIMENAL CASE" °F CA FoRn:
Vv. (For Offenses Committed On or After November 1,
ANTONIO MENDEZ-LOPEZ (1) Case Number: 19CR5278-CAB

JEREMY D. WARREN
Defendant’s Attorney

USM Number , 21440265
Cl -

THE DEFENDANT:

pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT INFORMATION

i] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

Count
Title & Section Nature of Offense ; Number(s)
8 USC 1326 REMOVED ALIEN FOUND IN THE UNITED STATES 1
. (FELONY)
The defendant is sentenced as provided in pages 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
[ The defendant has been found not guilty on counts}
C1 Count(s) . is dismissed on the motion of the United States.

 

Assessment : $100.00 - WAIVED.

[! JVTA Assessment’: $
*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
XI No fine L] Forfeiture pursuant to order filed ' , included herein.
IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

July 31. 2020)

Date of Imp Sitog of Sentence

HON. Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE

 

    
 

 
 

Case 3:19-cr-05278-CAB Document 30 Filed 07/31/20 PagelD.75 Page 2of5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANTONIO MENDEZ-LOPEZ (1) Judgment - Page 2 of 5.

CASE NUMBER: ‘19CR5278-CAB .

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
_ 18 MONTHS.

OO

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district: .
CO at A.M. on

 

 

0 asnotified by the United States Marshal.

The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

[! onor before

01 as notified by the United States Marshal.

[ as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on : ‘ to

> with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL ~

 

By | DEPUTY UNITED STATES MARSHAL

19CR5278-CAB

 
Case 3:19-cr-05278-CAB Document 30 Filed 07/31/20 PagelD.76 Page 3 o0f5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANTONIO MENDEZ-LOPEZ (1) Judgment - Page 3 of 5
CASE NUMBER: — 19CR5278-CAB ,

SUPERVISED RELEASE

Upon release from imprisonment, the defendant will be on supervised release for a term of:
THREE (3) YEARS.

7.

MANDATORY CONDITIONS

The defendant must not commit another federal, state or local crime.
The defendant must not unlawfully possess a controlled substance.
The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
controlied substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.

CiThe above diug testing condition is suspended, based on the court's determination that the defendant poses a low

risk of future substance‘abuse. (check if applicable) |

LiThe defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute fe authorizing
a sentence of restitution. (check if applicable)
El The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
CIThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if

applicable) °

CiThe defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

19CR5278-CAB

 
“a 14

Case 3:19-cr-05278-CAB Document 30 Filed 07/31/20 PagelD.77 Page4of5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANTONIO MENDEZ-LOPEZ (1) - Judgment - Page 4 of 5
CASE NUMBER: 19CR5278-CAB

STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the

C

1.

9.

1

1

1

/ 4

ourt about, and bring about improvements in the defendant’s conduct and condition. .

The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer _
as instructed. ,

. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or thé probation officer.

‘The defendant must answer truthfully the questions asked by their probation officer.

The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
expected change.

The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view. ;

The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find fuil-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible .
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming. aware of a
change or expected change.

The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant

knows someone has been convicted ofa felony, they must not knowingly communicate or interact with that person without

first getting the permission of the probation officer.

If the defendant is arrested or questioned by a law enforcement officer, the defendant rust notify the probation officer within 72 hours.
0. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,

anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such

as nunchakus or tasers). ,

1. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

2. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk.

3. The defendant must follow the instructions of the probation officer related to the conditions of supervision.

19CR5278-CAB

 

 
Case 3:19-cr-05278-CAB Document 30 Filed 07/31/20 PagelD.78 Page 5of5
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANTONIO MENDEZ-LOPEZ (1) Judgment - Page 5 of 5
CASE NUMBER: 19CR5278-CAB .

SPECIAL CONDITIONS OF SUPERVISION

1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
illegally and report to the probation officer within 24 hours of any reentry to the United States; supervision
waived upon deportation, exclusion, or voluntary departure.

if

19CR5278-CAB

 

 
